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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


JOHN DOE,

               Plaintiff,
                                                        Civil Action 2:17-cv-538
                                                        Judge Michael H. Watson
       v.                                               Magistrate Judge Chelsey M. Vascura



OHIO WESLEYAN UNIVERSITY, et al.,

               Defendants.


                                             ORDER

       Pursuant to Federal Rule of Civil Procedure 16(a)(5) and (c)(2), the parties must appear for

a settlement conference on FRIDAY, APRIL 24, at 10:00 a.m., 85 Marconi Boulevard, Room

172, Columbus, Ohio, 43215, before the Honorable Chelsey M. Vascura. The trial attorney for

each party must attend the conference, and the parties or principals with settlement authority shall

be present. Lack of discovery or settlement authority will not excuse active participation in the

conference.

       IT IS SO ORDERED.


                                                      /s/ Chelsey M. Vascura
                                                     CHELSEY M. VASCURA
                                                     UNITED STATES MAGISTRATE JUDGE
